Case 2:04-cV-02905-.]DB-tmp Document 3 Filed 06/02/05 Page 1 of 8 Page|D 1

F"_-,. ¢P .
IN THE UNITED STATES DISTRICT COURT ££ HYL`€f‘UL‘

FOR THE wEsTERN DISTRICT oF TENNESSEE 05 ,,
wEsTERN DIvIsIoN JUl'-z' ~?. PH lz= 23

 

sosa-v a w 1'-"
meals us r)f§'iro'c':l‘?

RICKY L. DILLARD, W-D- OF TN= !~\_»§EM`PHJS`

Plaintiff,
vS- NO. 04~2905~B/P
CHAPLIN HORTON,

Defendant.

>~<>'<>'<>-<>'<>-<>~<>-<>-<>-<>-<

 

ORDER TO COMPLY WITH PLRA
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff Ricky L. Dillard, booking number 04130871, an inmate
at the Shelby County Criminal Justice Center (Jail),1 filed a pro
§§ complaint under 42 U.S.C. § 1983. The Clerk of Court shall file
the case and record the defendant as Chaplin Horton. Plaintiff
also filed a motion for leave to proceed in forma pauperis.

I. ASSESSMENT OF FILING FEE

Under the Prison Litigation Reform Act of 1995 (the “PLRA”),
28 U.S.C. § l9l5(b), any prisoner bringing a civil action must pay
the full filing fee of $150 required by 28 U.S.C. § 1914(a). The
in forma pauperis statute, 28 U.S.C. § 1915(a), merely provides the
prisoner the opportunity to make a "downpayment" of a partial

filing fee and pay the remainder in installments.

 

l The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

--"`ocument entered on me ucc-dsi sham m tu..;:_. _ `

_CL_?;H§..__-_

n Hula 53 and/or 79(3) FRCP on `

 

Case 2:04-cV-02905-.]DB-tmp Document 3 Filed 06/02/05 Page 2 of 8 Page|D 2

In this case, plaintiff has not properly completed and
submitted both an ip forma pauperis affidavit and a prison trust
fund account statement showing:

l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and

3) the account balance when the complaint was submitted.

Pursuant to 28 U.S.C. § l915(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out
this order. It is ORDERED that within thirty (30) days of the
entry of this order the plaintiff properly complete and file both
an ip fp;pa pauperis affidavit and a trust fund account statement
showing the above amounts. It is further ORDERED that the trust
fund officer at plaintiff's prison shall calculate a partial
initial filing fee equal to twenty percent (20%) of the greater of
the average balance in or deposits to the plaintiff's trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. If the funds in plaintiff's account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff's account and forward them to the Clerk of Court. On
each occasion that funds are subsequently credited to plaintiff's
account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial

filing fee is paid in full.

Case 2:04-cV-02905-.]DB-tmp Document 3 Filed 06/02/05 Page 3 of 8 Page|D 3

It is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $l0.00, until the entire $150.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment. All payments and account statements shall
be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on
the first page of this order.

If plaintiff is transferred_to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. If still confined he shall provide the officials at the
new prison with a copy of this order. If the plaintiff fails to
abide by these or any other requirements of this order, the Court
may impose appropriate sanctions, including a monetary fine,
without any additional notice or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's

prison. The obligation to pay this filing fee shall continue

Case 2:04-cV-02905-.]DB-tmp Document 3 Filed 06/02/05 Page 4 of 8 Page|D 4

despite the immediate dismissal of this case. 28 U.S.C. §
1915(e)(2). The Clerk shall not issue process or serve any papers
in this case.
II. ANALYSIS OF PLAINTIFF'S CLAIMS

Dillard alleges that on October 12, 2004, Jail Chaplin was
unprofessional and disrespectful when she discussed the death of
his brother and other personal affairs in front of other Jail
inmates. He alleges that he felt violated and suffered mental
anguish. Dillard attached a copy of the grievance he filed on
October 12, 2004, which was deemed “nongrievable” for lack of
“specific information about what the Chaplain said.” Dillard does
not allege that he filed any appeal or a subsequent grievance.

The Sixth Circuit has held that 42 U.S.C. § l997e(a) requires
a federal court to dismiss a complaint without prejudice whenever
a prisoner brings a prison conditions claim without demonstrating
that he has exhausted. his administrative remedies. Brown 'v.
Toombs, 139 F.3d 1102 (6th Cir. 1998). This places an affirmative
burden on prisoners to plead particular facts demonstrating the
complete exhaustion of claims. Knuckles El v. Toombs, 215 F.3d
640, 642 (6th Cir. June 15, 2000). The Court also applies §
l997e(a) to claims seeking monetary damages. Wy§pp_yppp§pp§;d, 193
F.3d 876, 878 (6th Cir. 1999).

To the extent plaintiff's allegations are insufficient to
satisfy the exhaustion requirement of § 1997e(a), 28 U.S.C. §

1997e(c)(2) provides that a court may, despite a lack of

Case 2:04-cV-02905-.]DB-tmp Document 3 Filed 06/02/05 Page 5 of 8 Page|D 5

exhaustion, dismiss a claim which fails to state a claim upon which
relief may be granted:

In the event that a claim is, on its face, frivolous,

malicious, fails to state a claim upon which relief can

be granted, or seeks monetary relief from a defendant who

is immune from such relief, the court may dismiss the

underlying claim without first requiring the exhaustion

of administrative remedies.
42 U.S.C. § l997e(c)(2). This Court, therefore, analyzes prisoner
complaints for failure to state a claim and frivolity regardless of
exhaustion of grievance procedures.

verbal harassment or the use of abusive language cannot
support liability under § 1983. Mere verbal harassment does not
inflict pain so as to amount to the "obduracy and wantonness"
required for a violation of the Cruel and Unusual Punishments
Clause. See Wilson v. Seiter, 501 U.S. 294, 299 (1991); Ivey v.
Wilson, 832 F.2d 950, 955 (6th Cir. 1987)(holding that verbal abuse
or harassment does not constitute punishment under the Eighth
Amendment); Martin v. Sarqent, 780 F.2d 1334, 1338 (Sth Cir.
1985)(holding verbal threats to reclassify a prisoner non~
cognizable under § 1983).

Just as the Constitution "does not mandate comfortable

prisons," Wilson v. Seiter, 501 U.S. at 298, it does not mandate

 

polite prison guards or officials or fellow inmates. Derogatory or
abusive language and conduct do not give rise to a claim under §
1983. Paul v. Davis, 424 U.S. 693 (1976); Banks v. Klapish, 717 F.

Supp. 520 (W.D. Mich. 1989); Gilson v. Cox, 711 F. Supp. 354 (E.D.

 

Mich 1989); Rahman v. Stephenson, 626 F. Supp. 886, 888 (W.D. Tenn.

1986); Coyle v. Hughs, 436 F. Supp. 591, 593 (W.D. Okla.

Case 2:04-cV-02905-.]DB-tmp Document 3 Filed 06/02/05 Page 6 of 8 Page|D 6

1977)(threatening words and gestures by custodial officer do not
amount to a constitutional violation). Horton's alleged comments
did not inflict cruel and unusual punishment on the plaintiff.

Furthermore, Dillard may not maintain this action under § 1983
because he fails to allege any physical injury from Horton’s
conduct. Under 42 U.S.C. § 1997e(e), "[n]o Federal civil action
may be brought by a prisoner confined in a jail, prison, or other
correctional facility, for mental or emotional injury suffered
while in custody without a prior showing of physical injury."

Accordingly, plaintiff's complaint fails to state a clain1upon
which relief may be granted and is, therefore, DISMISSED pursuant
to 28 U.S.C. § l915(e)(2)(B)(ii).
III . APPEAL ISSUES

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip ipima ppppppi§. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
ipipp pauperis if the trial court certifies in writing that it is
not taken in good faith. The good faith standard is an objective
one. See Coppedqe v. United States, 369 U.S. 438, 445 (1962). It
would be inconsistent for a district court to determine that a
complaint which fails to state a claim upon which relief may be

granted has sufficient merit to support an appeal i forma

 

pauperis. Accordingly, the same considerations that lead the Court
to dismiss this case for failure to state a claim also compel the

conclusion that an appeal would not be taken in good faith.

Case 2:04-cV-02905-.]DB-tmp Document 3 Filed 06/02/05 Page 7 of 8 Page|D 7

It is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith, and plaintiff may not proceed on appeal ip ippma pauperis.

The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not

affect an indigent prisoner plaintiff's ability to take advantage

of the installment procedures contained in § l9l5(b). See McGore
v. Wrigglesworth, 114 F.3d 601, 610~11 (6th Cir. 1997). McGore

sets out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of
the installment procedures for paying the appellate filing fee,2 he
must comply with the procedures set out in Mc§ore and § 1915(b).
For analysis under 28 U.S.C. § 1915(g) of future filings, if
any, by this plaintiff, this is the first dismissal in this

district of one of his cases for failure to state a claim.

~Ju+¢_
IT IS SO ORDERED thiS day NBY, 2005.

f

. DANIEL `BREEN \
UN TED sTATEs DISTRICT JUDGE

 

2 The fee for docketing an appeal is 8250. §ee Judicial Conference
Schedule of Fees, § 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02905 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

Ricky L. Dillard

04 1 3087 l

201 Poplar Ave 3 ,B,7
i\/lemphis7 TN 3 8103

Honorable J. Breen
US DISTRICT COURT

